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                            UNITED STATES DISTRICT COURT

                                  DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA
                              Plaintiff,

       v.
                                                          Case No. 1:23-cr-00239
ILYA LICHTENSTEIN, and
HEATHER MORGAN                                            Judge Colleen Kollar-Kotelly
                              Defendants.



                      DECLARATION OF KIERSTEN A. FLETCHER

                  IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

1, Kiersten A. Fletcher, hereby declare:

    1. My name, bar number, office address, and telephone number are as follows:

       Kiersten A. Fletcher
       4881256
       32 Old Slip
       New York, NY 10005
       (212) 701-3365

   2. I have been admitted to the following courts and bars: the State of New York, the

       Southern District of New York, the Eastern District of New York, and the Second Circuit

       U.S. Court of Appeals.

   3. I am currently in good standing with all states, courts, and bars in which I am admitted.

   4. I have not been admitted pro hac vice in this Court in the past two years.

   5. I do not engage in the practice of law from an office in the District of Columbia, nor am I

       a member or the D.C. bar or have a pending application for membership.
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   6. I certify that I have reviewed and am familiar with the Local Rules of the United States

       District Court for the District of Columbia.

I declare under penalty of perjury that the foregoing is true and correct. Executed in New York

New York, this 22nd day of October, 2024.

Dated: October 22, 2024                          Respectfully submitted,



                                                 Kie rstei  . Fletcher
                                                 CAHILL GORDON & REINDEL LLP
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                                                 New York, NY 10005
                                                 Telephone: (212) 701-3365
                                                 KFletcher@cahill. com
